Case 3:23-cv-00459-VC   Document 148-3   Filed 12/24/24   Page 1 of 2




               EXHIBIT B
        Case 3:23-cv-00459-VC          Document 148-3        Filed 12/24/24    Page 2 of 2




December 13, 2024


 Premerger Notification Office                   Department of Justice
 Bureau of Competition                           Antitrust Division
 Federal Trade Commission                        Premerger and Division Statistics Unit
 Constitution Center Building                    450 Fifth Street, N.W.
 400 7th St., S.W., 5th Floor, Room 5301         Suite 1100
 Washington, D.C. 20024                          Washington, DC 20530-0001
 (premerger@ftc.gov)                             (premerger@usdoj.gov)

Premerger Notification and Report Form: Acquired Person

Transaction File No. 231-0004

Acquisition by The Kroger Company of Albertsons Companies, Inc.

Dear Sir or Madam:

Please be advised that our client, Albertsons Companies, Inc., hereby withdraws the above-
referenced Notification and Report Form pursuant to 16 C.F.R. § 803.12, effective December
12, 2024.

Please contact me at (202) 383-8135 if I can be of any assistance.

Sincerely,



Edward D. Hassi
